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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION




UNITED STATES OF AMERICA,
                                                CR20-I6-BLG-SPW
                    Plaintiff,
                                                 ORDER
vs.



COURAGE DANE DECRANE,

                    Defendant.


      For the reasons stated on the record, COURAGE DANE DECRANE is

hereby released from the custody of the U.S. Marshals Service.


      DATED this 21st day of October, 2021.


                                           ^USAN P. WATTERS
                                           U.S. DISTRICT JUDGE
